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                     IN THE UNITED STATES
                        DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS
                       MCALLEN DIVISION


 JUANA CRUZ, OFELIA                     §
BENAVIDES, GABRIELA                     §
VELAZQOEZ, MELESIO
CRUZ, ANGELICA CHAVEZ
OLGA PEREZ, MAURICIO
SANCHEZ, JORGE MAULEON,
HECTOR GONZALEZ, YESSY
PEREZ, LUIS ALBERTO ZUNGA,
GONZALO ESQUIVEL, RAFAEL
SANCHEZ, ROSA QUINTANILLA,
HECTOR SANCHEZ, ROSENDO
LIEVANOS, MARIA
DE LOURDES CRUZ, JOSE ELIAS
NG, RICARDO GONZALO,
CONCEPCION PEREZ, ELIZABETH
LARA,MIGUEL CABALLERO,
CARLOSDANIEL LOPEZ, GILDA
RIVAS, ARMANDO MORALES DE
LLANO,LAZARO GARCIA, MARIA
DE JESUS MEDINA, GUILLERMO
DE LA CRUZ, MARIA GUADALUPE
VILLARREAL SILVA, KARINA
MEDINA, RAFAELA RIVERA,
ALICE FERNANDA CASTRO,
ALEJANDRO RANGEL,
GERALD WENDLE III,
MARIA VANTA,
MARIA RODRIGUEZ,
JORGE REYES
Individually and On Behalf of All
Others Similarly Situated,
                                        §
            Plaintiffs,                 §
                                        §
v.                                      §        CIVIL ACTION NO.: 7:25-CV-15
                                        §
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  DELGAR FOODS, INC D/B/A/                       §     INITIAL DISCLOSURES PURSUANT
  DELIA’S TAMALES                                §          TO FEDERAL RULE OF CIVIL
                                                 §                     PROCEDURE 26
                  Defendants.


       Pursuant to this Court’s Order for Disclosure and without waiving any claims of

       privilege, work produced protection or other grounds for nondisclosure, new Plaintiffs,

       by their undersigned counsel, hereby makes their Initial Disclosure to Defendant.

       Plaintiffs make these disclosures based upon the information reasonably available to

       them at this time. Plaintiff reserved the right to amend, supplement, and modify these

       disclosures as the case progresses pursuant to the Federal Rules of Civil Procedure or as

       otherwise permitted by this Court’s case management rules or Order of this Court.


   1. Documents created or maintained by the Plaintiff recording time worked.

       Response: None yet but reserve the right to amend. It is assumed that Delia’s maintained
       records of employment for Plaintiffs.


  2.. Documents created or maintained by the Plaintiff recording wages or other compensation.

paid or unpaid by the Defendant. (This does not include personal tax returns or tax informational


documents.)

       Response: None yet but reserve the right to amend. It is assumed that Delia’s maintained
       records of employment for Plaintiffs.


       3 If the Plaintiff reported or complained internally to the Defendant about the FLSA

       And RICO Claim(s), the reports or complaint and any response that the Defendant

       provided to the Plaintiff.

       Response: N/A Plaintiff’s had no knowledge about employment law or FLSA wage and

hour. These people were all from Mexico and had no knowledge of any of the laws that would
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protect them. Plaintiffs thought that pay deductions were actually going into the fake social

security number created by Delia

4. Any offer letters, employment agreements, or compensation agreements for the Plaintiff.

        Response: None yet but reserve the right to amend. It is assumed that Delia’s maintained
        records of employment for Plaintiffs.

5. Any sworn statements from individuals with information relevant to the FLSA Claim and
RICO(s).

        Response: In the process of getting them. I will submit them during discovery.

6. Documents that the Plaintiff relies on to support a claim of willful violation.

        Response: Deductions from paychecks when they were given fake social security

        numbers. Fake social security numbers and fake permanent resident cards.

        Wrong overtime pay given when they worked a lot more hours.

7. The start and end dates for the FLSA and RICO Claim(s).

        Response: From the time they were hired and during overtime pay. This was a sweat shop

        and human trafficking.

8. The Plaintiff’s title or position and a brief description of the Plaintiff’s job duties for the

relevant time period.

        Response: See below

        9. The basis for the FLSA Claim(s) and RICO State and Federal

        Response: These people were treated like slaves, and this is human trafficking. Delia’s

        This is all based on affidavits and listening to the Plaintiffs. We are in the process of

        getting affidavits from the new plaintiffs. Delia would gave employees fake social

        security cards and fake permanent resident cards, then Delia would deduct withholdings

        knowing that the social security cards were fake.
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        10. A computation of each category of damages claimed by the Plaintiff, including a)
            applicable dates,
            b) amounts of claimed unpaid wages, and
            c) the method used for computation (including applicable rates and hours).

        Response: Still working on the new plaintiffs from San Antonio. It is assumed that

        Delia’s maintained records of employment for Plaintiffs.

        11. The names of the Plaintiff’s supervisors during the relevant time period.

        Response: Still getting info and will provide that during discovery. It is assumed that

        Delia’s maintained records of employment for Plaintiffs.

        12. If the Plaintiff reported or complained about the FLSA or RICO Claim(s) to any

        government agency, the identity of each such agency, the date(s) or such reports or

        complaints, and the outcome or status of each report or complaint.

        Response: N/A they didn’t understand that they were protected under the law. No posters

        were ever put on walls so employees could know of their rights. It wasn’t until 2022

        when Delia’s finally put a poster up.

        13. If the Plaintiffs reported or complained to the Defendant about any FLSA or RICO

            Claim(s), and RICO Claims whether the report or complaint was written or oral,

            when the report or complaint was made, to whom any report or complaint was made,

            and any response provided by Defendant.

        Response: Na, they didn’t understand that they were protected under the law.

        14. Some plaintiffs were given fake documents by Delia’s.

Name of Individual             Contact Information            Subject Matter
Likely to have Discoverable    address and telephone number   of Discoverable information.

Stephen Quezada                                        He was the attorney telling all/most of the
                                                       plaintiffs if they appealed the termination
                                                       that they (Delia’s) would call immigration
                                                       and have them deported.
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Sofia Lubin                                  Told some of the employees they had a guy
                                             that does the fake documents. That she
                                             would get them for them.



Blanca Estella Sierra                        HR knew about the fake documents

Letty Zumaya                                 She told some plaintiffs who to get fake
                                             documents from.

Lazaro Martinez                              Gave some of the plaintiffs the fake
                                             documents to work.

El Guero Garza                               Delia Garza’s brother was the person to see
                                             to smuggle some of the plaintiff’s back to
                                             the U.S.A

Delia Garza                                  Mistreated employees and had knowledge

Benito Garza                                 Nephew to Delia Garza said to some
                                             plaintiffs that Delia Garza knew about
                                             employees having fake documents.

Alberto Trevino                              Hired some plaintiffs knowing that
                                             documents were fake.

Mirta Garza                                  Knew about employees having fake
                                             documents.

Lorenzo Luben                                Knew about employees with fake
                                             documents.


Maria Guadalupe Villarreal Silva             Worked long hours and didn’t get paid
210-965-5319

Karina Medina
210-810-1264

Rafaela Rivera                               Worked in kitchen from 08/19/2022 to
9380 Camino Village                          07/25/2024 received fake documents from
Apt. 1012                                    Delia’s
San Antonio, TX. 78254
801-502-6434
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Alice Fernanda Castro                        Verbal abuse, mistreatment, faulty
4029 Big Meadows St.                         machinery, exposure to chemicals
San Antonio, TX. 78254                       would burn skin cause nausea and headaches
210-394-4954                                 no paid overtime

Alejandro Rangel                             Verbal and physical abuse, got tuberculosis.
3302 W. Hausman Rd.                          Doctor didn’t want him in cooler.
Apt. 2116                                    Orders by doctor were ignored by Delia’s
San Antonio, TX.                             Documents were not legal and provided by
                                             Delia
210-968-6338

Gerald Wendle III
5940 Danny Kaye Dr.
Apt. 304
San Antonio, TX.
210-846-6287

Maria Vanta
5940 Panny Kaye Dr.
#304
San Antonio, TX.
210-721-3940

Maria Rodriguez
210-257-5989
77660 Tuebnerred Rd.

Jorge Reyes                                  Delia’s made false allegations against him.
210-257-5981                                 Never paid overtime. Delia’s paid what they
                                             Thought was appropriate on the overtime
                                             Ugly working conditions.




                                       /s/Richard Alamia
                                       619 S. 12th Ave.
                                       Edinburg, TX. 78539
                                       956-381-5766
                                       956-381-5774
                                       Richard.alamia@yahoo.com
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                                               Ricardo Gonzalez
                                               124 S. 12th Ave.
                                                Edinburg, TX. 78539
                                                956-383-5654
                                                ric@oxfordgonzalez.com




                                        Certificate of Service

I certify that a true and correct copy of this initial disclosure was sent by email to:

William R. Stukenberg
cdeason@porterhedges.com

Stephen Quezada
stephen.quezada@ogletree.com

On this the 2nd day of May 2025.

                                               /s/Richard Alamia
